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    William H. Stockton, OSB #743163
    whs@brisbeeandstockton.com
    BRISBEE & STOCKTON LLC
    139 N.E. LINCOLN STREET
    P.O. BOX567
    HILLSBORO, OREGON 97123
    Phone: (503) 648-6677
    Fax: (503) 648-1091

          Attorneys for Defendant




                             UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                     PORTLAND DIVISION




    CHANDRA HEWES,                                                Civil No. 3:17-cv-00281-AC

                        Plaintiff,
                                                     STIPULATED GENERAL JUDGMENT
          v.
    TARGET CORPORATION,

                        Defendant.

                   The above-entitled matter, having been submitted to The Honorable John
    V. Acosta, Magistrate Judge, and based upon the stipulation of the parties by and
    through their attorneys that the matter has been settled and that a judgment of dismissal
    with prejudice may be entered,
    Ill
    Ill


Page 1 - STIPULATED GENERAL JUDGMENT
                                                                            BR!SBEE & STOCKTON LLC
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                                                                                  TEL!PliON£ (503) 648·6677
                                                                                     PAX{503) 648·1091
                                                                                 law@brlibeeandstockton.com
            Case 3:17-cv-00281-AC             Document 12       Filed 07/11/17   Page 2 of 2




                  Therefore, the above-entitled matter is hereby dismissed with prejudice
    and without costs to either party.    /
                                     /I
                  DATED this             .day of July, 2017.
                                                                  7


                                                 The Hoii'orable John V. Acosta
                                                 U.S. Djs. ~et Goµrt Judge
                                                          e:.



                                                      V'~Ofll <J'l'£1/lt-
                  IT IS SO STIPULATED:


     7~ <o- J7t-
    Date                                         Matthew Philbrook, OSB #110694
                                                 Attorney for Plaintiff


      ~5.20/7
    Date                                         wmiam H.       stoct<>n;o8B #743163
                                                 Attorney for Defendant




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                                                                                        HIWBOl\O, ORHOOH
                                                                                       11!1.EPHONI! (503) 648-6677
                                                                                           PAX (503) 648-1091
                                                                                       law@brbbeeindstocklon.com
